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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 16-82028-CIV-MARRA

  JANET HOYT,

  Plaintiff,

  vs.

  CUBESMART, L.P., d/b/a CUBESMART
  SELF STORAGE,

  Defendant.
  _____________________________________/

                                              ORDER

          This cause is before the Court upon Notice of Voluntary Dismissal with Prejudice (DE 9).

  The Court has carefully considered the Notice and is otherwise fully advised in the premises.

          Accordingly, it is hereby ORDERED AND ADJUDGED that the case is dismissed with

  prejudice. The Clerk shall close the case and all pending motions are denied as moot.

          DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

  Florida, this 6th day of March, 2017.

                                               ______________________________________
                                               KENNETH A. MARRA
                                               United States District Judge
